

Max v ALP, Inc. (2022 NY Slip Op 03968)





Max v ALP, Inc.


2022 NY Slip Op 03968


Decided on June 16, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: June 16, 2022

Before: Acosta, P.J., Kapnick, Friedman, Mendez, Higgitt, JJ. 


Index No. 650618/19 Appeal No. 16145 Case No. 2021-02765 

[*1]Adam Max etc., Plaintiff-Appellant,
vALP, Inc., et al., Defendants-Respondents, Michael Anderson, Defendant. Lawrence Flynn, Nonparty Respondent.


Olshan Frome Wolosky LLP, New York (John G. Moon of counsel), for appellant.
Schlam Stone &amp; Dolan LLP, New York (Jeffrey M. Eilender of counsel), for respondents.



Order, Supreme Court, New York County (Nancy M. Bannon, J.), entered June 14, 2021, which granted defendants' motion for a preliminary injunction to the extent of enjoining plaintiff and nonparty Lawrence J. Flynn, Esq. from commencing a shareholders' meeting for the purpose of restoring plaintiff as President and CEO of defendant ALP, Inc., and enjoining plaintiff from serving or acting as an officer or director of ALP, Inc. until further court order, and denied plaintiff's cross motion to vacate the temporary restraining order, unanimously affirmed, without costs.
The motion court providently exercised its discretion in awarding preliminary injunctive relief. Defendants demonstrated a likelihood of success on the merits of at least their breach of fiduciary duty claim against plaintiff, and also demonstrated irreparable harm and that the balance of equities weighed in their favor (see generally Koultukis v Phillips , 285 AD2d 433, 435 [1st Dept 2001]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: June 16, 2022








